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                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York


                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     August 31, 2015

By ECF
Hon. Katherine B. Forrest
United States District Judge
Southern District of New York
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, New York 10007

               Re:     United States v. Ross William Ulbricht, S1 14 Cr. 68 (KBF)

Dear Judge Forrest:

        The Government writes to make two requests concerning the trial-court record in this
case, in order to ensure that it is complete and accurate for purposes of appeal.

        First, the Government has conducted a thorough review of the trial transcript and
identified a number of typographical and other minor errors contained therein, which are listed in
Exhibit A attached hereto. The Government respectfully requests that the Court order these
errors to be corrected in the official transcript. The Government has consulted with defense
counsel, who has no objection to the requested corrections. Upon the so-ordering of this letter,
the Government will transmit the order to the court reporters’ office so that the corrections listed
in Exhibit A can be made.

         Second, the Government requests the further unsealing of materials from the litigation in
this case concerning the investigation of Carl Force. As the Court is aware, these litigation
materials generally have already been unsealed. On March 30, 2015, the day that charges against
Mr. Force were unsealed in the Northern District of California, the Government requested that all
sealed filings in this case relating to the Force investigation be unsealed as well. The
Government attached these filings – to the extent they were in the Government’s possession – to
its letter. (See Ltr. dated Mar. 30, 2015, Ex. B). The Court granted the Government’s request,
and as a result the filings attached to the Government’s letter were unsealed and posted on the
public docket (the “Unsealed Filings”).

         However, the Unsealed Filings include a copy of the Court’s December 22, 2014
memorandum opinion (rejecting two defense motions relating to the Force investigation), which
still contains certain redactions, as reflected in Exhibit B attached hereto. (See Ex. B at 7-8 &
16-22). The redactions were in the copy of the opinion the Court provided to the Government at
the time the opinion was filed; the Government has never received an unredacted copy. As noted
in the opinion itself, the Court made these redactions at the time the opinion was filed, because
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they redacted sections concerned arguments made in two ex parte letters that had been submitted
by the defense. (See Ex. B at 1 n.2 & 2). Presumably, the defense letters were submitted ex
parte because they contained information about potential trial strategies the defense was
contemplating prior to trial. Because they were submitted ex parte, the Government never
received copies of these letters, and thus, these underlying letters are also not included in the
Unsealed Filings.

        The Government presently seeks to remedy these omissions. Specifically, the
Government seeks to unseal both the redacted portions of the Court’s December 22, 2014
memorandum opinion and the two ex parte defense letters referenced in the opinion, in order to
ensure that any issue the defense raises on appeal concerning the Force investigation can be
litigated against a full trial-court record. The Government has spoken with the defense
concerning this request, and the defense has informed the Government that it objects to the
request, on the ground that the defense’s ex parte letters “contained information we would never
have disclosed in a public letter.” However, while the information in the letters may originally
have been sensitive by virtue of discussing potential defense strategies prior to trial, it is unclear
why the information would remain sensitive now, long after trial has passed.1 At this point, the
defense’s trial strategy is obviously no longer a mystery – including the strategy that the defense
wished to pursue with respect to the Force investigation, which became clear in various sidebars
throughout trial. Accordingly, the Government respectfully requests that the Court grant the
Government’s unsealing request over the defense’s objection, and that the Court order (1) that
the December 22, 2014 memorandum opinion be filed on the public docket in unredacted form
and (2) that the defense’s two ex parte letters referenced in the opinion be unsealed and filed on
the public docket.

                                                       Respectfully,

                                                       PREET BHARARA
                                                       United States Attorney


                                                   By: ______________________________
                                                       SERRIN TURNER
                                                       TIMOTHY T. HOWARD
                                                       Assistant United States Attorneys
                                                       Southern District of New York

Cc:    Joshua Dratel, Esq. (by ECF)


1
  Even prior to trial, it is dubious whether it was proper for the defense to submit the letters ex
parte in the first place. See United States v. Walker, 05 Cr. 440, 2008 WL 5002937, at *3 (E.D.
Pa. 2008) (rejecting request for supposed Brady information that defendants made ex parte due
to “concern that their trial strategy will be divulged,” holding: “Defendants are seeking this
material under Brady and its progeny, which have established disclosure procedures that neither
permit a defendant to move ex parte to procure impeachment or exculpatory evidence nor allow
the defendant to review Government files in the hopes of discovering such material.”).
                                                  2
